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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Bernadette Clyburn
                               Plaintiff,
v.                                                 Case No.: 1:21−cv−05251
                                                   Honorable Matthew F. Kennelly
Ford Motor Company
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 8, 2021:


        MINUTE entry before the Honorable Matthew F. Kennelly: Telephonic status
hearing held on 11/8/2021. Plaintiff has leave to file an amended complaint by
11/22/2021. The deadline supplement Rule 26(a)(1) disclosures, if necessary, is set for
12/6/2021. The parties are to confer regarding a discovery and pretrial schedule. A joint
status report with the proposed schedule is due 12/15/2021. A telephonic status hearing is
set for 12/21/2021 at 9:00 a.m. The following call−in number will be used for the hearing:
888−684−8852, conference code 746−1053. Mailed notice. (mma, )




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